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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 18-CV-23576-WILLIAMS/TORRES



   AM GRAND COURT LAKES, LLC,
   and AM 2800 SIERRA DRIVE, LLC

               Plaintiffs,

   v.

   ROCKHILL INSURANCE COMPANY,

               Defendant.
   _____________________________________/

                 ORDER ON DEFENDANT’S MOTION TO STRIKE

         The matter before this Court is a Motion to Strike and Exclude the Testimony

   of Plaintiff’s Proffered Experts filed by Defendant ROCKHILL INSURANCE

   COMPANY (“Defendant”) on July 5, 2019. [D.E. 109]. Plaintiff responded in

   opposition to the Motion on July 19, 2019 [D.E. 116], and Defendant’s Reply followed

   on July 26. [D.E. 118]. The Honorable Judge Kathleen M. Williams then referred the

   Motion to the undersigned for disposition on August 13, 2019. [D.E. 121]. Following

   our review of each of the challenged expert’s reports, in addition to the parties’

   briefing materials and the governing legal authorities, we hereby ORDER the Motion

   be GRANTED in part and DENIED in part.

                             I.   FACTUAL BACKGROUND

         This action involves a dispute over insurance coverage for roof damage

   allegedly suffered at a Miami-arear property after Hurricane Irma struck South
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   Florida in September of 2017. [D.E. 1]. The governing Scheduling Order required

   Plaintiff to disclose the identity of its experts, expert summaries and reports by

   January 28, 2019. [D.E. 21]. It did so on that date, listing three experts: (1) Sergio

   Arce; (2) Alfredo Brizuela; and (3) Alain Gonzalez. [D.E. 44]. Plaintiff only provided

   supporting documentation in the form of an affidavit prepared by Arce and the

   resumes of both Arce and Brizuela; no affidavits from the latter two individuals were

   included. Id.

         On March 5, 2019, the Court struck Plaintiff’s expert witness disclosures,

   finding that Plaintiff’s submission failed to comply with Rule 26 of the Federal Rules

   of Procedure. [D.E. 49]. The Order gave Plaintiff seven days to cure the deficiencies,

   and Plaintiff filed a “supplemental” witness list on March 12 in compliance with that

   Order. [D.E. 50]. The disclosures listed the same three individuals as experts, but

   this time the disclosure included from all three. Id. Defendant once again moved to

   strike the supplemental filing, arguing that each failed to comply with the expert

   disclosure requirements of Rule 26 and arguing that the “affidavits” filed by each

   expert did not qualify as a “report” under that Rule. [D.E. 68]. The Honorable Judge

   Kathleen M. Williams denied Defendant’s Motion on June 13, 2019, but gave

   Defendant leave to file Daubert motions to strike should Plaintiff wish to do so.

         That Motion is now before this Court. [D.E. 109]. Defendant asks that we strike

   the testimony of each of Plaintiff’s proffered experts, arguing for a third time that the

   disclosures violate Rule 26 and that exclusion is therefore necessary under Rule 37.

   Id. Defendant also contends that our role as “gatekeeper” requires that each of the

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   expert’s opinions be deemed inadmissible because the individuals are not qualified to

   offer the opinions Plaintiff intends to elicit at trial, and that each conclusion drawn

   is unreliable and unhelpful. Id. Plaintiff, in opposition, argues that its disclosures

   comply with Rule 26(a)(2) and that its supplemental disclosures complied with this

   Court’s March 5 Order. [D.E. 76]. Plaintiffs also argue that each expert is qualified,

   helpful and supported their conclusions utilizing reliable methodology. Id.

                                II.    LEGAL STANDARD

         Rule 702 of the Federal Rules of Evidence, as explained by Daubert and its

   progeny, governs the admissibility of expert testimony. Daubert v. Merrell Dow

   Pharmaceuticals, Inc., 509 U.S. 579, 589 (1993); Rink v. Cheminova, Inc., 400 F.3d

   1286, 1291 (11th Cir. 2005). Rule 702 states that an expert, qualified as such by

   knowledge, skill, experience, training, or education, may testify in the form of an

   opinion if: (1) the expert’s scientific, technical, or other specialized knowledge will

   help the trier of fact to understand the evidence or determine a fact in issue; (2) the

   testimony is based on sufficient facts or data; (3) the testimony is the product of

   reliable principles and methods; and (4) the expert has reliably applied the principles

   and methods to the facts of the case. Fed. R. Evid. 702.

         The district court’s role in determining whether an expert may testify is that

   of a “gatekeeper.” Daubert, 509 U.S. at 589. In this role, we must “ensure that any

   and all scientific testimony or evidence is not only relevant, but reliable.” Id. In doing

   so, we are afforded broad discretion in deciding whether to admit or exclude an

   expert’s proffered testimony. See Kumho Tire v. Carmichael, 526 U.S. 137, 152 (1999).

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   The Daubert Court noted that “[t]he inquiry envisioned by Rule 702 is…a flexible

   one,” Daubert, 509 U.S. at 594, and in Kumho, the Court stated that our gatekeeping

   obligation extends not only to scientific testimony, but to all expert testimony.

   Kumho, 526 U.S. at 147.

          The Eleventh Circuit has set forth a three-pronged approach to the party

   seeking to qualify a witness as an expert. See Rink, 400 F.3d at 1291-92. That

   approach requires the court to inquire whether: (1) the expert is qualified to testify

   competently regarding the matters he intends to address; (2) the methodology by

   which the expert reaches his conclusions is sufficiently reliable as determined by the

   sort of inquiry mandated in Daubert; and (3) the testimony assists the trier of fact,

   through the application of scientific, technical, or specialized expertise, to understand

   the evidence or determine a fact in issue. Id. The party offering an expert carries the

   burden of satisfying each of these elements by a preponderance of the evidence. See

   Allison v. McGhan Med. Corp., 184 F.3d 1300, 1306 (11th Cir. 1999); see also United

   States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (“The burden of establishing

   qualification, reliability, and helpfulness rests on the proponent of the expert

   opinion.”).

                                     III.   ANALYSIS

          A.     Disclosure Requirements Under Rule 26(a)(2)

          We will first address Defendant’s argument that each of the expert’s reports

   fails to comply with Rule 26 of the Federal Rules of Civil Procedure. This particular

   challenge invokes Rule 26(a)(2), which states:

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         (2) Disclosure of Expert Testimony.

            (A) In General. In addition to the disclosures required by Rule
            26(a)(1), a party must disclose to the other parties the identity of any
            witness it may use at trial to present evidence under Federal Rules of
            Evidence 702, 703, or 705.

            (B) Witnesses Who Must Provide a Written Report. Unless otherwise
            stipulated or ordered by the court, this disclosure must be
            accompanied by a written report – prepared and signed by the witness
            – if the witness is one retained or specially employed to provide expert
            testimony in the case or one whose duties as the party’s employee
            regularly involve giving expert testimony. The report must contain:

              (i) a complete statement of all opinions the witness will express
              and the basis and reasons for them;

              (ii) the facts or data considered by the witness in forming them

              (iii) any exhibits that will be used to summarize or support them;

              (iv) the witness’s qualifications, including a list of all publications
              authored in the previous 10 years;

              (v) a list of all other cases in which, during the previous 4 years,
              the witness testified as an expert at trial or by deposition; and

              (vi) a statement of the compensation to be paid for the study and
              testimony in the case.

   Fed. R. Civ. P. 26(a)(2)(A)-(B). Defendant claims that we must strike each expert’s

   “report” because the submitted affidavits cannot be considered such a report as

   required by Rule 26(a)(2). Defendant also argues that the inclusion of affidavits

   prepared by Brizuela and Gonzalez after the January 28 deadline to exchange expert

   witness violated this Court’s Scheduling Order.

         We disagree with both arguments. First, we reject Defendant’s claim that the

   opinions do not comply with the requirements of Rule 26(a)(2). Our review of each

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   “report” – even if provided to Rockhill in affidavit form – provides the information

   required under that Rule. See OFS Fitel, LLC v. Epstein, Becker and Green, P.C., 549

   F.3d 1344, 1361 (11th Cir. 2008) (finding expert’s affidavit met all requirements of

   Rule 26(a)(2) despite not being deemed a “report”). Although it appears that each

   affidavit is nearly identical, we cannot ignore that each provides the information

   mandated by Rule 26(a)(2), including the witness’s final opinions, the facts and

   information considered before reaching those conclusions, and the respective expert’s

   qualifications. The similarity of each may serve as fodder for rigorous cross-

   examination at trial, but it does not, in and of itself, render the opinions wholly

   inadmissible under Daubert. See Sorrels v. NCL (Bahamas), Ltd., 796 F.3d 1275, 1285

   (11th Cir. 2015) (“Cross-examination and the presentation of contrary evidence ‘are

   the traditional and appropriate means of attacking shaky but admissible evidence.’”)

   (quoting Daubert, 509 U.S. at 596).

         The second argument is likewise rejected. Defendant claims that Plaintiff’s

   March 12, 2019 “supplementation” of its disclosure violated Judge Williams’

   Scheduling Order because it included additional affidavits prepared by Gonzalez and

   Brizuela that were not provided on January 28. This argument flatly ignores this

   Court’s Order from March 5, where we gave Plaintiff leave to amend the disclosures

   and cure those deficiencies; Plaintiff’s supplementation, then, was simply its effort to

   comply with that Order, and we find no issue with doing so.

         Having disposed of this procedural argument, we now move to the substantive

   merits raised in Defendant’s Motion to Strike as to each individual expert.

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         B.     Manny Arce

         Arce, in his affidavit, offers three opinions: (1) the roof of the facility suffered

   “catastrophic failure”; (2) the damage was caused by Hurricane Irma; and (3) partial

   repairs at the facility have not cured the roofing issues caused by the storm. For the

   reasons stated below, we find that Arce may testify as to the extent of damages

   suffered by the facility, but that he is not qualified to render opinions related to

   causation.

                                    1.    Qualifications

         First, we turn to Mr. Arce’s qualifications, which Defendant challenges here.

   An expert may be qualified to testify in multiple ways – through knowledge, skill,

   experience, training, or education – but is not rendered unqualified “simply because

   [his] experience does not match the matter at hand.” Furmanite America, Inc. v. T.D.

   Williamson, Inc., 506 F. Supp. 2d 1126, 1129 (S.D. Fla. 2007) (citing Maiz v. Virani,

   253 F.3d 641, 665 (11th Cir. 2001)). Indeed, any inquiry into an expert’s qualifications

   is “not stringent,” and “so long as the expert is minimally qualified, objections to the

   level of the expert’s expertise [go] to credibility and weight, not admissibility.” Vision

   I Homeowners Ass’n, Inc. v. Aspen Specialty Ins. Co., 674 F. Supp. 2d 1321, 1325 (S.D.

   Fla. 2009) (citations omitted); see also Rushing v. Kansas City S. Ry. Co., 185 F.3d

   496, 507 n.10 (5th Cir. 1999) (“[A]fter an individual satisfies the relatively low

   threshold for qualification, the depth of one’s qualification [should] be the subject of

   vigorous cross-examination.”).



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         After considering Mr. Arce’s credentials, we find that he is qualified to testify

   as to the extent, scope, and value of the damages allegedly suffered by Plaintiff’s

   facility. Mr. Arce, a licensed public adjuster in Florida, possesses more than a decade

   of experience in this field and holds nine (9) separate certifications and accreditations,

   including those pertaining to wind and water damage. [D.E. 44-1, p. 10]. His work

   often includes assessments of property damage stemming from major weather events,

   including hurricanes, which reaches the very core of the parties’ dispute here. Thus,

   he is qualified to offer opinions on the damage allegedly suffered by the subject

   property in this case.

         We cannot say the same as to causation. As a public adjuster, Mr. Arce

   certainly is experienced in measuring damages involved in these types of claims; but

   there is nothing in his report that indicates he possesses the ability to determine the

   cause of such damages. Indeed, in his own report Arce admits that he “acquired

   education, training, and experience in relation to establishing the reasonable

   necessary course, scope, and value of losses…associated with an insurance claim.”

   [D.E. 44-1]. But we see nothing in his background that would allow us to find that he

   may independently opine on the cause of those damages, and his affidavit does not

   provide a satisfactory explanation on how he would be equipped to reach such an

   opinion here. 1


   1      For example, Arce’s resume does not show any kind of experience as an
   engineer or reflect a background in overseeing major construction projects, each of
   which might allow us to find that he could opine on causation. Cf. Clena Investments,
   Inc. v. XL Specialty Ins. Co., 280 F.R.D. 653, 661-62 (S.D. Fla. 2012) (“[A]ssessing
   structure-related damages to a building would seem to be a natural fit with the
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         As such, we find that Arce is qualified to state his opinions with regard to the

   extent of the damages suffered here and the costs associated with any necessary

   repairs, but Plaintiff may not elicit any causation opinions during his testimony.

                                    2.     Methodology

         Next, we reject Defendant’s contention that Mr. Arce’s methodology is

   unreliable. When evaluating the methodology supporting an expert’s opinion, a court

   may consider factors such as whether the expert’s theory or technique can be and has

   been tested, whether the theory or technique has been subjected to peer review and

   publication, whether there is a known or potential rate of error for a technique,

   whether there are standards controlling the technique’s operation, and whether the

   theory or technique is generally accepted. Anderson v. Mascara, 347 F. Supp. 3d 1163,

   1180 (S.D. Fla. 2018) (citing Kumho, 526 U.S. at 149-50). However, the evaluation of

   methodology varies from case to case, and when looking at non-scientific issues, the

   relevant reliability concerns can and should focus on personal knowledge and

   experience. Id. (citing Frazier, 387 F.3d at 1262; Kumho, 526 U.S. at 150).

         We are satisfied that Arce utilized a reliable methodology to reach his opinions

   on the extent and scope of damages to the property. Indeed, his role as a public

   adjuster requires him to regularly make such determinations in a professional

   capacity, which is sufficient in and of itself. His affidavit also discusses the



   training and experience that a professional civil engineer has.”) (emphasis
   added); Broussard v. State Farm Fire & Cas., 523 F.3d 618, 631 (5th Cir. 2008)
   (affirming district court ruling allowing structural engineer to testify that storm surge
   and not hurricane-force winds caused damage).
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    information he consulted in order to reach his conclusions, which included his review

    of relevant weather data, performance of site inspections, and a consultation of public

    records related to past damage the property may have suffered during other weather-

    related events. This, in our view, is sufficient to satisfy the requirements set forth by

    Rule 702 and Daubert.

          We also note that Defendant failed to depose Mr. Arce (as well as Mr. Gonzalez

    and Mr. Brizuela) despite having more than two months to do so before the close of

    discovery. While not outcome-determinative, it would have certainly assisted

    Defendant in “filling in the blanks” it now complains of with regard to Mr. Arce’s

    methodology. See Ward v. Carnival Corp., 2019 WL 1228063, at *5 (denying Daubert

    motion for, among other things, party’s failure to depose expert despite having the

    opportunity to do so). Defendant’s broadside challenge to Arce’s methodology is

    insufficient in light of the fact that it failed to take advantage of the rules allowing

    for further investigation of an expert’s opinion, which provides further support for

    denial of the Motion on this basis. See id. (“[I]f Plaintiff lacks salient details as to

    what [the expert] did or did not do in reaching her conclusions, or how the literature

    supports her findings, it seems to us that this occurred as a result of Plaintiff’s own

    failure to seek the information he claims he now does not possess, and not because

    the expert’s [methodology] is somehow lacking.”); see also Continental Motors, Inc. v.

    Jewell Aircraft, Inc., 2013 WL 5530842, at *7-8 (M.D. Ala. Oct. 4, 2013) (denying

    motion   to   strike   based   on   party’s     decision   to   “plung[e]   into   a   full-

    blown Daubert [challenge] without first taking [the expert’s] deposition.”).

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                                      3.     Helpfulness

            As to Defendant’s third point – that Arce’s testimony will be unhelpful – we

    again disagree. Expert testimony is helpful to the trier of fact “if it concerns matters

    that are beyond the understanding of the average layperson.” Frazier, 387 F.3d at

    1262. “Proffered exert testimony generally will not help the trier of fact when it offers

    nothing more than what lawyers for the parties can argue in closing arguments.” Id.

    at 1262-63 (emphasis added; citation omitted). An expert opinion also fails to satisfy

    the helpfulness prong when it would tend to cause confusion to the trier of fact. Id. at

    1258.

            The scope and extent of damages the property suffered is not something a

    layperson would know without assistance from an expert. See Fed. R. Evid. 702. As a

    public adjuster, Arce will be able to explain the extent of the damage to the roof, his

    estimate of what the repairs will cost, and why the roof needs to be replaced at this

    time – all information a person without experience in his field would not be able to

    ascertain on his or her own. See Frazier, 387 F.3d at 1262 (expert testimony

    admissible “if it concerns matter that are beyond the understanding of the average

    layperson.”) As such, the Court finds that Arce’s testimony, will be helpful to the jury

    under Daubert.

            C.    Alain Gonzalez

            Defendant, in challenging the testimony to be offered from Mr. Gonzalez,

    repeats the same arguments raised in connection with their challenge to Mr. Arce –



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    that he is unqualified, unreliable, and unhelpful. [D.E. 109, p. 9-11]. We will dispose

    of these arguments in summary fashion, as we have dealt with them in detail above.

          First, Mr. Gonzalez is qualified to testify as to the scope and extent of damages

    to the subject property, but he may not trace the cause of those damages to Hurricane

    Irma. Mr. Gonzalez’s background as a general contractor certainly is sufficient and

    qualifies him to discuss the structural integrity of the property at issue, the damage

    it allegedly suffered from the weather event, and the costs necessary to repair such

    damages. 2 He may also testify that the roof cannot be partially repaired as a result

    of the allegedly significant damage. For the same reasons discussed in the section

    pertaining to Mr. Arce, however, we find that his role as a general contractor does not

    qualify him to opine as to causation.

          Defendant’s remaining arguments in support of the Motion, which involve

    Gonzalez’s methodology and helpfulness, are rejected for the same reasons discussed

    above. Should Defendant wish to attack the “factual underpinnings” supporting

    Gonzalez’s ultimate conclusions, it remains free to do so at trial. See Sorrels, 796 F.3d

    at 1285. Such challenges should be made during cross examination, however, because

    each go to the weight of the testimony, not admissibility. Id.; see also See Mcgarity v.

    FM Carriers, Inc., 2012 WL 1028593, at *7 (S.D. Ga. Mar. 26, 2012) (“[T]he



    2      Mr. Gonzalez, in his role as a general contractor, has worked in the field for 19
    years and possesses several relevant certifications. His role as a senior project
    manager in his current position has also allowed him to work on major, multi-million
    dollars construction projects for clients in the educational, commercial, and
    healthcare fields.

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    identification of flawed data or facts relied upon by an expert is precisely the role of

    cross-examination         and   does   not   render   expert     testimony    inadmissible

    under Daubert.”). 3

             D.      Alfredo Brizuela

             To conclude, and for the reasons stated above, we reject Defendant’s

    helpfulness and reliability arguments as to Brizuela. The only difference here is that

    we find that he is qualified – unlike Mr. Arce and Mr. Gonzalez – to testify as to

    causation, mostly because he possesses a background in engineering that the other

    two experts lack.

             Indeed, Mr. Brizuela obtained a degree in architectural engineering in 1978

    and has over 35 years of experience in the field. He is a Florida-licensed civil and

    structural engineer who has worked on countless projects, and his resume

    demonstrates his extensive involvement with building and design inspection services.

    For this reason, we find that he may testify as to scope and extent of the damages

    suffered by the property at issue, in addition to the cause of those damages. See Clena

    Investments, Inc., 280 F.R.D. at 661-62 (“[A]ssessing structure-related damages to a

    building would seem to be a natural fit with the training and experience that a

    professional civil engineer has.”); see also Traveler Indem. Co. of Conn. v. Centimark

    Corp.,        2010   WL     3431159,    *2   (S.D.    Fla.     Aug.   30,    2010) (finding



    3     We pause here to note, once again, the fact that each of the expert’s affidavits
    appear to be identical, or nearly so. This should provide ample fodder for cross-
    examination purposes, but it does not support Defendant’s request for exclusion of
    the opinions under Daubert.
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    licensed engineer qualified to provide expert opinion that installation of roofing

    system was faulty).

                                    IV.   CONCLUSION

             In accordance with our findings above, we hereby ORDER the following:

             1.    Defendant’s Motion to Strike Alfredo Brizuela’s opinions is DENIED.

             2.    Defendant’s Motion to Strike with regard to Manny Arce and Alain

    Gonzalez is GRANTED in part and DENIED in part. Arce and Gonzalez are

    precluded from offering causation testimony; all other opinions are admissible at

    trial.

             DONE AND ORDERED in Chambers at Miami, Florida this 11th day of

    September, 2019.

                                                  /s/ Edwin G. Torres
                                                  EDWIN G. TORRES
                                                  United States Magistrate Judge




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